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7
                  UNITED STATES DISTRICT COURT
8        WESTERN DISTRICT OF WASHINGTON, SEATTLE DIVISION
9                                                   Case No.:
                                      )
10   Keith Megay, individually and on
     behalf of all others similarly   )
11   situated,                        )             COMPLAINT FOR VIOLATIONS
                                      )             OF THE TELEPHONE CONSUMER
12                                                  PROTECTION ACT 47 U.S.C. §227
                   Plaintiff,         )             et seq.
13                                    )
                           v.         )             JURY TRIAL DEMANDED
14                                    )
     Euphorium Life, LLC, a
15                                    )
     Washington Limited Liability
                                      )
16   Company,
                                      )
17                                    )
                   Defendant.         )
18                                    )
19
20                                         INTRODUCTION
            1.       Plaintiff, Keith Megay, brings this action against Defendant, Euphorium Life,
21
22   LLC, to secure redress for violations of the Telephone Consumer Protection Act (“TCPA”), 47

23   U.S.C. § 227.
24                                   NATURE OF THE ACTION
25
            2.       This is a putative class action pursuant to the Telephone Consumer Protection
26
     Act, 47 U.S.C. § 227 et seq., (the “TCPA”).
27
28   COMPLAINT                                     1                     KAZEROUNI LAW GROUP
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            3.       Defendant is recreational marijuana store. To promote its services, Defendant
1
     engages in unsolicited marketing, harming thousands of consumers in the process.
2
3           4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal

4    conduct, which has resulted in the invasion of privacy, harassment, aggravation, and disruption
5    of the daily life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of
6
     himself and members of the class, and any other available legal or equitable remedies.
7
8                                   JURISDICTION AND VENUE

9
            5.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a
10
     federal statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff
11
12   alleges a national class, which will result in at least one class member belonging to a different

13   state than that of Defendant.     Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred

14   dollars) in damages for each call in violation of the TCPA, which, when aggregated among a
15   proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 (five-
16
     million dollars) threshold for federal court jurisdiction under the Class Action Fairness Act
17
     (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA jurisdiction are
18
     present.
19
20          6.       Venue is proper in the United States District Court for the Western District of

21   Washington pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in

22   any judicial district in which it is subject to the court’s personal jurisdiction, and because
23   Defendant provides and markets its services within this district thereby establishing sufficient
24
     contacts to subject it to personal jurisdiction. Further, Defendant’s tortious conduct against
25
     Plaintiff occurred within the State of Washington and, on information and belief, Defendant has
26
     sent the same text messages complained of by Plaintiff to other individuals within this judicial
27
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     district, such that some of Defendant’s acts in making such calls have occurred within this
1
     district, subjecting Defendant to jurisdiction in the State of Washington.
2
3                                               PARTIES

4           7.      Plaintiff is a natural person who, at all times relevant to this action, was a
5    resident of King County, Washington.
6
            8.      Defendant is a Washington limited liability company whose principal office is
7
     located at 27623 Covington Way, SE, Covington, Washington 98042. Defendant directs,
8
     markets, and provides its business activities throughout the State of Washington.
9
10                                             THE TCPA

11          9.      The TCPA prohibits: (1) any person from calling a cellular telephone number;

12   (2) using an automatic telephone dialing system; (3) without the recipient’s prior express
13   consent. 47 U.S.C. § 227(b)(1)(A).
14
            10.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as
15
     “equipment that has the capacity - (A) to store or produce telephone numbers to be called,
16
     using a random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §
17
18   227(a)(1).

19          11.     In an action under the TCPA, a plaintiff must only show that the defendant

20   “called a number assigned to a cellular telephone service using an automatic dialing system or
21   prerecorded voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla.
22
     2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).
23
            12.     The Federal Communications Commission (“FCC”) is empowered to issue rules
24
     and regulations implementing the TCPA. According to the FCC’s findings, calls in violation of
25
26   the TCPA are prohibited because, as Congress found, automated or prerecorded telephone calls

27   are a greater nuisance and invasion of privacy than live solicitation calls, and such calls can be
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     costly and inconvenient. The FCC also recognized that wireless customers are charged for
1
     incoming calls whether they pay in advance or after the minutes are used.               Rules and
2
3    Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No.

4    02-278, Report and Order, 18 FCC Rcd 14014 (2003).
5           13.     In 2012, the FCC issued an order tightening the restrictions for automated
6
     telemarketing calls, requiring “prior express written consent” for such calls to wireless
7
     numbers. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act
8
     of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012) (emphasis supplied).
9
10          14.     To obtain express written consent for telemarketing calls, a defendant must

11   establish that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and

12   conspicuous disclosure’ of the consequences of providing the requested consent….and having
13   received this information, agrees unambiguously to receive such calls at a telephone number
14
     the [plaintiff] designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot.
15
     Act of 1991, 27 F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C.
16
     Feb. 15, 2012).
17
18          15.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

19   initiation of a telephone call or message for the purpose of encouraging the purchase or rental

20   of, or investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining
21   whether a communication constitutes telemarketing, a court must evaluate the ultimate purpose
22
     of the communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).
23
            16.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention
24
     of a good, product, or service’ where the implication of an improper purpose is ‘clear from the
25
26   context.’” Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

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            17.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated
1
     and transmitted to a person for the purpose of promoting property, goods, or services.” Golan,
2
3    788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules

4    and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd
5    at 14098 ¶ 141, 2003 WL 21517853, at *49).
6
            18.     The FCC has explained that calls motivated in part by the intent to sell property,
7
     goods, or services are considered telemarketing under the TCPA.               See In re Rules and
8
     Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
9
10   14014, ¶¶ 139-142 (2003). This is true whether call recipients are encouraged to purchase,

11   rent, or invest in property, goods, or services during the call or in the future. Id.

12          19.     In other words, offers “that are part of an overall marketing campaign to sell
13   property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and
14
     Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
15
     14014, ¶ 136 (2003).
16
            20.     If a call is not deemed telemarketing, a defendant must nevertheless demonstrate
17
18   that it obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions

19   Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015)

20   (requiring express consent “for non-telemarketing and non-advertising calls”).
21          21.     Further, the FCC has issued rulings and clarified that consumers are entitled to
22
     the same consent-based protections for text messages as they are for calls to wireless numbers.
23
     See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has
24
     determined that a text message falls within the meaning of “to make any call” in 47 U.S.C. §
25
26   227(b)(1)(A)); Toney v. Quality Res., Inc., 2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014)

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     (Defendant bears the burden of showing that it obtained Plaintiff's prior express consent before
1
     sending him the text message). (emphasis added).
2
3           22.     As recently held by the United States Court of Appeals for the Ninth Circuit:

4    “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and
5    disturb the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need
6
     not allege any additional harm beyond the one Congress has identified.’” Van Patten v.
7
     Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4,
8
     2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).
9
10                                              FACTS

11          23.     On or about December 21, 2019, Defendant sent the following telemarketing

12   text messages to Plaintiff’s cellular telephone number ending in 4340 (the “4340 Number”):
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18
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23
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14           24.      Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and
15   within the time frame relevant to this action.
16
             25.      Defendant’s text messages constitute telemarketing because they encouraged the
17
     future purchase or investment in property, goods, or services, i.e., selling Plaintiff marijuana
18
     related products.
19
20           26.      The information contained in the text message advertises Defendant’s “new

21   rewards program…” which Defendant sends to promote its business.

22           27.      Plaintiff received the subject texts within this judicial district and, therefore,
23   Defendant’s violation of the TCPA occurred within this district. Upon information and belief,
24
     Defendant caused other text messages to be sent to individuals residing within this judicial
25
     district.
26
27
28   COMPLAINT                                        7                      KAZEROUNI LAW GROUP
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            28.    At no point in time did Plaintiff provide Defendant with his express written
1
     consent to be contacted using an ATDS.
2
3           29.    Plaintiff is the subscriber and sole user of the 4340 Number, and is financially

4    responsible for phone service to the 4340 Number.
5           30.    Plaintiff has been registered with the national do-not-call registry since 2006.
6
            31.    The impersonal and generic nature of Defendant’s text message, demonstrates
7
     that Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC,
8
     No. 1:14-cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016)
9
10   (“These assertions, combined with the generic, impersonal nature of the text message

11   advertisements and the use of a short code, support an inference that the text messages were

12   sent using an ATDS.”) (citing Legg v. Voice Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D.
13   Fla. 2014) (plaintiff alleged facts sufficient to infer text messages were sent using ATDS; use
14
     of a short code and volume of mass messaging alleged would be impractical without use of an
15
     ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010) (finding it
16
     "plausible" that defendants used an ATDS where messages were advertisements written in an
17
18   impersonal manner and sent from short code); Hickey v. Voxernet LLC, 887 F. Supp. 2d 1125,

19   1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725,

20   2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be
21   impracticable without use of an ATDS)).
22
            32.    The text messages originated from telephone number 256-588-8159, a number
23
     which upon information and belief is owned and operated by Defendant.
24
            33.    The number used by Defendant (256-588-8159) is known as a “long code,” a
25
26   standard 10-digit phone number that enabled Defendant to send SMS text messages en masse,

27
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     while deceiving recipients into believing that the message was personalized and sent from a
1
     telephone number operated by an individual.
2
3           34.     Long codes work as follows:        Private companies known as SMS gateway

4    providers have contractual arrangements with mobile carriers to transmit two-way SMS traffic.
5    These SMS gateway providers send and receive SMS traffic to and from the mobile phone
6
     networks' SMS centers, which are responsible for relaying those messages to the intended
7
     mobile phone. This allows for the transmission of a large number of SMS messages to and
8
     from a long code.
9
10          35.     Specifically, upon information and belief, Defendant utilized a combination of

11   hardware and software systems to send the text messages at issue in this case. The systems

12   utilized by Defendant have the capacity to store telephone numbers using a random or
13   sequential generator, and to dial such numbers from a list without human intervention.
14
            36.     To send the text messages, Defendant used a messaging platform (the
15
     “Platform”) that permitted Defendant to transmit thousands of automated text messages without
16
     any human involvement.
17
18          37.     The Platform has the capacity to store telephone numbers, which capacity was in

19   fact utilized by Defendant.

20          38.     The Platform has the capacity to generate sequential numbers, which capacity
21   was in fact utilized by Defendant.
22
            39.     The Platform has the capacity to dial numbers in sequential order, which
23
     capacity was in fact utilized by Defendant.
24
            40.     The Platform has the capacity to dial numbers from a list of numbers, which
25
26   capacity was in fact utilized by Defendant.

27
28   COMPLAINT                                     9                      KAZEROUNI LAW GROUP
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            41.     The Platform has the capacity to dial numbers without human intervention,
1
     which capacity was in fact utilized by Defendant.
2
3           42.     The Platform has the capacity to schedule the time and date for future

4    transmission of text messages, which occurs without any human involvement.
5           43.     To transmit the messages at issue, the Platform automatically executed the
6
     following steps:
7
                        a. The Platform retrieved each telephone number from a list of numbers in
8
                           the sequential order the numbers were listed;
9
10                      b. The Platform then generated each number in the sequential order listed

11                         and combined each number with the content of Defendant’s message to

12                         create “packets” consisting of one telephone number and the message
13                         content;
14
                        c. Each packet was then transmitted in the sequential order listed to an
15
                           SMS aggregator, which acts an intermediary between the Platform,
16
                           mobile carriers (e.g. AT&T), and consumers.
17
18                      d. Upon receipt of each packet, the SMS aggregator transmitted each

19                         packet – automatically and with no human intervention – to the

20                         respective mobile carrier     for the telephone number, again in the
21                         sequential order listed by Defendant. Each mobile carrier then sent the
22
                           message to its customer’s mobile telephone.
23
            44.     The above execution these instructions occurred seamlessly, with no human
24
     intervention, and almost instantaneously.     Indeed, the Platform is capable of transmitting
25
26   thousands of text messages following the above steps in minutes, if not less.

27
28   COMPLAINT                                     10                       KAZEROUNI LAW GROUP
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             45.       Further, the Platform “throttles” the transmission of the text messages depending
1
     on feedback it receives from the mobile carrier networks. In other words, the platform controls
2
3    how quickly messages are transmitted depending on network congestion.                 The platform

4    performs this throttling function automatically and does not allow a human to control the
5    function.
6
             46.       The following graphic summarizes the above steps and demonstrates that the
7
     dialing of the text messages at issue was done by the Platform automatically and without any
8
     human intervention:
9
10
11
12
13
14
15
             47.       Defendant’s unsolicited text messages caused Plaintiff actual harm, including
16
     invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and
17
     conversion. Defendant’s text messages also inconvenienced Plaintiff and caused disruption to
18
19   his daily life.

20           48.       Defendant’s   unsolicited   text    messages   caused   Plaintiff   actual   harm.
21   Specifically, Plaintiff estimates that he spent approximately ten minutes investigating the
22
     unwanted text messages including how they obtained his number and who the Defendant was.
23
             49.       Furthermore, Defendant’s text messages took up memory on Plaintiff’s cellular
24
     phone. The cumulative effect of unsolicited text messages like Defendant’s poses a real risk of
25
26   ultimately rendering the phone unusable for text messaging purposes as a result of the phone’s

27   memory being taken up. See https://www.consumer.ftc.gov/articles/0350-text-message-

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     spam#text (finding that text message solicitations like the ones sent by Defendant present a
1
     “triple threat” of identity theft, unwanted cell phone charges, and slower cell phone
2
3    performance).

4           50.      Defendant’s text messages also can slow cell phone performance by taking up
5    space on the recipient phone’s memory. See https://www.consumer.ftc.gov/articles/0350-text-
6
     message-spam#text (finding that spam text messages can slow cell phone performance by
7
     taking up phone memory space).
8
                                        CLASS ALLEGATIONS
9
10                                              PROPOSED CLASS
11          51.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on

12   behalf of himself and all others similarly situated.
13          52.      Plaintiff brings this case on behalf of a Class defined as follows:
14
                         No Consent Class: All persons who from four years
15                       prior to the filing of this action (1) were sent a text
                         message by or on behalf of Defendant, (2) using an
16                       automatic telephone dialing system, (3) for the
                         purpose of soliciting Defendant’s goods and services,
17                       and (4) for whom Defendant claims (a) it did not
18                       obtain prior express written consent, or (b) it
                         obtained prior express written consent in the same
19                       manner as Defendant claims it supposedly obtained
                         prior express written consent to call the Plaintiff.
20
                         Do Not Call Registry Class: All persons in the United
21                       States who from four years prior to the filing of this
                         action (1) were sent a text message by or on behalf of
22
                         Defendant; (2) more than one time within any 12-month
23                       period; (3) where the person’s telephone number had
                         been listed on the National Do Not Call Registry for at
24                       least thirty days; (4) for the purpose of selling
                         Defendant’s products and services; and (5) for whom
25                       Defendant claims (a) it did not obtain prior express
26                       written consent, or (b) it obtained prior express written
                         consent in the same manner as Defendant claims it
27                       supposedly obtained prior express written consent to
                         call the Plaintiff.
28   COMPLAINT                                       12                    KAZEROUNI LAW GROUP
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1           53.     Defendant and its employees or agents are excluded from the Class. Plaintiff
2
     does not know the number of members in the Class, but believes the Class members number in
3
     the several thousands, if not more.
4
               NUMEROSITY
5
            54.     Upon information and belief, Defendant has placed automated and/or
6
7    prerecorded calls to cellular telephone numbers belonging to thousands of consumers

8    throughout the United States without their prior express consent. The members of the Class,
9    therefore, are believed to be so numerous that joinder of all members is impracticable.
10
            55.     The exact number and identities of the Class members are unknown at this time
11
     and can only be ascertained through discovery. Identification of the Class members is a matter
12
     capable of ministerial determination from Defendant’s call records.
13
14                COMMON QUESTIONS OF LAW AND FACT

15          56.     There are numerous questions of law and fact common to the Class which

16   predominate over any questions affecting only individual members of the Class. Among the
17   questions of law and fact common to the Class are:
18
                        (1) Whether Defendant made non-emergency calls to Plaintiff’s and Class
19
                            members’ cellular telephones using an ATDS;
20
                        (2) Whether Defendant can meet its burden of showing that it obtained prior
21
22                          express written consent to make such calls;

23                      (3) Whether Defendant’s conduct was knowing and willful;

24                      (4) Whether Defendant is liable for damages, and the amount of such
25
                            damages; and
26
                        (5) Whether Defendant should be enjoined from such conduct in the future.
27
28   COMPLAINT                                     13                        KAZEROUNI LAW GROUP
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            57.     The common questions in this case are capable of having common answers. If
1
     Plaintiff’s claim that Defendant routinely transmits text messages to telephone numbers
2
3    assigned to cellular telephone services is accurate, Plaintiff and the Class members will have

4    identical claims capable of being efficiently adjudicated and administered in this case.
5                 TYPICALITY
6
            58.     Plaintiff’s claims are typical of the claims of the Class members, as they are
7
     all based on the same factual and legal theories.
8
                  PROTECTING THE INTERESTS OF THE CLASS MEMBERS
9
10          59.     Plaintiff is a representative who will fully and adequately assert and protect the

11   interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate

12   representative and will fairly and adequately protect the interests of the Class.
13                PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE
14
            60.     A class action is superior to all other available methods for the fair and efficient
15
     adjudication of this lawsuit, because individual litigation of the claims of all members of the
16
     Class is economically unfeasible and procedurally impracticable. While the aggregate damages
17
18   sustained by the Class are in the millions of dollars, the individual damages incurred by each

19   member of the Class resulting from Defendant’s wrongful conduct are too small to warrant the

20   expense of individual lawsuits. The likelihood of individual Class members prosecuting their
21   own separate claims is remote, and, even if every member of the Class could afford individual
22
     litigation, the court system would be unduly burdened by individual litigation of such cases.
23
            61.     The prosecution of separate actions by members of the Class would create a risk
24
     of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.
25
26   For example, one court might enjoin Defendant from performing the challenged acts, whereas

27
28   COMPLAINT                                       14                      KAZEROUNI LAW GROUP
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     another may not. Additionally, individual actions may be dispositive of the interests of the
1
     Class, although certain class members are not parties to such actions.
2
3                                                COUNT I
4                              Violations of the TCPA, 47 U.S.C. § 227(b)
5                                 (On Behalf of Plaintiff and the Class)
6              62.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth
7    herein.
8              63.   It is a violation of the TCPA to make “any call (other than a call made for

9    emergency purposes or made with the prior express consent of the called party) using any
10   automatic telephone dialing system … to any telephone number assigned to a … cellular
11
     telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
12
               64.   Defendant – or third parties directed by Defendant – used equipment having the
13
     capacity to dial numbers without human intervention to make non-emergency telephone calls to
14
15   the cellular telephones of Plaintiff and the other members of the Class defined below.

16             65.   These calls were made without regard to whether or not Defendant had first

17   obtained express permission from the called party to make such calls. In fact, Defendant did not
18   have prior express consent to call the cell phones of Plaintiff and the other members of the
19
     putative Class when its calls were made.
20
               66.   Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an
21
     automatic telephone dialing system to make non-emergency telephone calls to the cell phones
22
23   of Plaintiff and the other members of the putative Class without their prior express written

24   consent.

25             67.   Defendant knew that it did not have prior express consent to make these calls,
26   and knew or should have known that it was using equipment that at constituted an automatic
27
     telephone dialing system. The violations were therefore willful or knowing.
28   COMPLAINT                                    15                       KAZEROUNI LAW GROUP
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            68.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,
1
     Plaintiff and the other members of the putative Class were harmed and are each entitled to a
2
3    minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to

4    an injunction against future calls. Id.
5
                                                COUNT II
6
                  Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
7                             (On Behalf of Plaintiff and the Class)
8
            69.     Plaintiff re-allege and incorporate paragraphs 1-61 as if fully set forth herein.
9
            70.     At all times relevant, Defendant knew or should have known that its conduct as
10
     alleged herein violated the TCPA.
11
12          71.     Defendant knew that it did not have prior express consent to make these calls,

13   and knew or should have known that its conduct was a violation of the TCPA.

14          72.     Because Defendant knew or should have known that Plaintiff and Class
15   Members had not given prior express consent to receive its autodialed calls, the Court should
16
     treble the amount of statutory damages available to Plaintiff and the other members of the
17
     putative Class pursuant to § 227(b)(3) of the TCPA.
18
            73.     As a result of Defendant’s violations, Plaintiff and the Class Members are
19
20   entitled to an award of $1,500.00 in statutory damages, for each and every violation, pursuant

21   to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

22
                                               COUNT III
23
                              Violation of the TCPA, 47 U.S.C. § 227
24                    (On Behalf of Plaintiff and the Do Not Call Registry Class)
25          74.     Plaintiff repeats and realleges the paragraphs 1 through 61 of this Complaint and
26
     incorporates them by reference herein.
27
28   COMPLAINT                                      16                       KAZEROUNI LAW GROUP
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            75.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that
1
     “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential telephone
2
3    subscriber who has registered his or her telephone number on the national do-not-call registry

4    of persons who do not wish to receive telephone solicitations that is maintained by the federal
5    government.”
6
            76.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to
7
     any person or entity making telephone solicitations or telemarketing calls to wireless telephone
8
     numbers.”1
9
10          77.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

11   any call for telemarketing purposes to a residential telephone subscriber unless such person or

12   entity has instituted procedures for maintaining a list of persons who request not to receive
13   telemarketing calls made by or on behalf of that person or entity.”
14
            78.     Any “person who has received more than one telephone call within any 12-
15
     month period by or on behalf of the same entity in violation of the regulations prescribed under
16
     this subsection may” may bring a private action based on a violation of said regulations, which
17
18   were promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

19   solicitations to which they object. 47 U.S.C. § 227(c).

20          79.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be
21   initiated, telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call
22
     Registry Class members who registered their respective telephone numbers on the National Do
23
     Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
24
     maintained by the federal government.
25
26   1
       Rules and Regulations Implementing the Telephone Consumer
     Protection Act of 1991, CG Docket No. 02-278, Report and Order,
27   18 FCC Rcd 14014 (2003) Available at
28   COMPLAINT                      17
     https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
                                                    KAZEROUNI LAW GROUP
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             80.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
1
     Registry Class received more than one telephone call in a 12-month period made by or on
2
3    behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of

4    Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered
5    actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to
6
     $500 in damages for such violations of 47 C.F.R. § 64.1200.
7
             81.      To the extent Defendant’s misconduct is determined to be willful and knowing,
8
     the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
9
10   recoverable by the members of the Do Not Call Registry Class.

11                                        PRAYER FOR RELIEF

12           WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

13   following relief:
14      a)         An order certifying this case as a class action on behalf of the Classes as defined
15
     above, and appointing Plaintiff as the representative of the Classes and counsel as Class
16
     Counsel;
17
        b)         An award of actual and statutory damages;
18
19      c)         An order declaring that Defendant’s actions, as set out above, violate the TCPA;

20      d)         A declaratory judgment that Defendant’s telephone calling equipment constitutes an

21   automatic telephone dialing system under the TCPA;
22      e)         An injunction requiring Defendant to cease all unsolicited text messaging activity,
23
     and to otherwise protect the interests of the Classes;
24
        f)         An injunction prohibiting Defendant from using, or contracting the use of, an
25
     automatic telephone dialing system without obtaining, recipient’s consent to receive calls made
26
27   with such equipment; and

28   COMPLAINT                                       18                      KAZEROUNI LAW GROUP
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        g)      Such further and other relief as the Court deems necessary.
1
                                                JURY DEMAND
2
3             Plaintiff and Class Members hereby demand a trial by jury.

4
     Dated: January 23, 2020                     Respectfully submitted,
5
6                                                KAZEROUNI LAW GROUP, APC

7
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28   COMPLAINT                                    19                      KAZEROUNI LAW GROUP
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